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 Fill in this information to identify you case:                                                                              For "amended" plans only:
                                                                                                                                Check if this amended plan is filed
 IN THE UNITED STATES BANKRUPTCY COURT                                                                                       prior to any confirmation hearing.
 FOR THE EASTERN DISTRICT OF TEXAS                                                                                              Check if this "amended" plan is filed
                                                                                                                             in response to an initial denial order or a
                                                                                                                             continuance that counted as an initial
                                                                                                                             denial.
 Debtor 1                Welton Douglas, III
                         First Name Middle Name Last Name                                                                    List the sections which have been
                                                                                                                             changed by this amended plan:
                                                                                                                                   n/a
 Debtor 2                Rosalind Douglas
 (filing spouse)         First Name Middle Name Last Name


 Case Number:                 19-41285


TXEB Local Form 3015-a
                                                                            CHAPTER 13 PLAN

                                                                                                                                                       Adopted: Dec 2017
 Part 1:                    Notices
                1
To Debtor :                This plan form is designed for use when seeking an initial confirmation order. It sets out options that may be
                           appropriate in some cases, but the presence of an option on the form does not indicate that the option is appropriate
                           in your circumstances. When you file this Plan, you must serve a copy of it upon each party listed on the
                           master mailing list (matrix) of creditors as constituted by the Court on the date of service and evidence that
                           service through a Certificate of Service affixed to this document that attaches a copy of the matrix of
                           creditors which you served. The most current matrix in this case is available under the “Reports” tab of the
                           CM-ECF system.
To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                           You should read this Plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you
                           do not have an attorney, you may wish to consult one.
                           If you oppose any permanent treatment of your claim as outlined in this plan, you or your attorney must file an
                           objection to confirmation of this Plan. An objection to confirmation must be filed at least 14 days before the date
                           set for the plan confirmation hearing. That date is listed in ¶ 9 of the Notice of Chapter 13 Bankruptcy Case issued
                           in this case. The objection period may be extended to 7 days prior to the confirmation hearing under the
                           circumstances specified in LBR 3015(f). In any event, the Court may confirm this plan without further notice if no
                           objection to confirmation is timely filed.
                           Regardless of whether you are listed in the Debtor’s matrix of creditors or in the Debtor’s schedules, you must
                           timely file a proof of claim in order to be paid under this Plan. The deadline for filing claims is listed in ¶ 8 of the
                           Notice of Chapter 13 Bankruptcy Case issued in this case. Disbursements on allowed claims will begin on the
                           Trustee’s next scheduled distribution date after the Effective Date of the Plan. See § 9.1.
                           The Debtor must check one box on each line to state whether or not the plan includes each of the following
                           items. If an item is checked as “Not Included” or if both boxes are checked, the provision will be ineffective if set
                           out later in the Plan.
 1.1            A limit on the amount of an allowed secured claim through a final                                              Included               Not Included
                determination of the value of property constituting collateral for such claim,
                as set forth in § 3.10 of this Plan, which may result in a partial payment or
                no payment at all to the secured creditor.
 1.2            Avoidance of a judicial lien or a nonpossessory, nonpurchase-money security                                    Included               Not Included
                interest, as set forth in § 3.9 of this Plan.
 1.3            Potential termination and removal of lien based upon alleged unsecured                                         Included               Not Included

1
    The use of the singular term "Debtor" in this Plan includes both debtors when the case has been initiated by the filing of a joint petition by spouses.


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Debtor Welton Douglas, III
Rosalind Douglas                                                                                                                            Case number      19-41285

                status of claim of lienholder, as set forth in § 3.11 of this Plan.
 1.4            Nonstandard provisions as set forth in Part 8.                                                                       Included        Not Included

 Part 2:                    Plan Payments and Length of Plan
2.1           The applicable commitment period for the Debtor is 36 months.
2.2           Payment Schedule.
              Unless the Court orders otherwise, beginning on the 30th day after the Petition Date2 or the entry date of any order
              converting this case to Chapter 13, whichever is later, the Debtor will make regular payments to the Trustee throughout the
              applicable commitment period and for such additional time as may be necessary to make the payments to claimants specified
              in Parts 3 through 5 of this Plan (the “Plan Term”). The payment schedule shall consist of:
                  Constant Payments: The Debtor will pay $100.00 per month for 60 months.
                  Variable Payments: The Debtor will make variable plan payments throughout the Plan Term. The proposed schedule for
                   such variable payments are set forth in Exhibit A to this Order and are incorporated herein for all purposes.
2.3           Mode of Payment. Regular payments to the Trustee will be made from future income in the following manner: [Check one]
                  Debtor will make payments pursuant to a wage withholding order directed to an employer.
                  Debtor will make electronic payments through the Trustee’s authorized online payment system.
                  Debtor will make payments by money order or cashier’s check upon written authority of the Trustee.
                  Debtor will make payments by other direct means only as authorized by motion and separate court order.
2.4           Income tax refunds.
              In addition to the regular monthly payments to the Trustee, and in the absence of a court order to the contrary, the Debtor is
              required to:
                    (1) supply a copy of each federal income tax return, including all supporting schedules, filed during the Plan Term to
                        the Trustee within 14 days of filing the return; and
                    (2) remit to the Trustee within 14 days of receipt all federal income tax refunds received by each Debtor during the plan
                        term which will be added to the plan base; provided, however, that the Debtor may retain from each such refund up
                        to $2,000.00 in the aggregate on an annual basis if the Debtor is current on the payment obligations to the Trustee
                        under this Plan at the time of the receipt of such tax refund.
              The Debtor hereby authorizes the Trustee to endorse any federal income tax refund check made payable to the Debtor during
              the plan term.
2.5           Additional payments. [Check one]
                None. If "None" is checked, the rest of § 2.5 need not be completed.

2.6        Plan Base.
              The total amount due and owing to the Trustee under §§ 2.2 and 2.5 is $6,000.00 which, when combined with any income tax
              refunds due to the Trustee under § 2.4, any litigation proceeds due to the Trustee under § 9.3, and any other funds received by
              the Trustee on the Debtor’s behalf during the Plan Term, constitutes the “Plan Base.”
 Part 3:                    Treatment of Secured Claims
3.1           Post-Petition Home Mortgage Payments. [Check one]
                  No Home Mortgage. If “No Mortgage” is checked, the remainder of § 3.1 need not be completed.
                  Home Mortgage Maturing Before or During Plan Term. If “Mortgage Maturing” is checked, the claim will be
                   addressed in § 3.4. The remainder of § 3.1 need not be completed.
                  Direct Home Mortgage Payments by Debtor Required.
              On the Petition Date2, the Debtor owed the following claims secured only by a security interest in real property that is the
              Debtor’s principal residence. The listed monthly payment amount is correct as of the Petition Date. Such mortgage claims
              (other than related Cure Claims addressed in § 3.2), shall be paid directly by the Debtor in accordance with the pre-petition
2
    The use of the term "Petition Date" in this Plan refers to the date that the Debtor filed the voluntary petition in this case.
TXEB Local Form 3015-a [eff. 12/2017]                                                  Chapter 13 Plan                                                    Page 2

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Debtor Welton Douglas, III
Rosalind Douglas                                                                                                                     Case number      19-41285

             contract, including any rate changes or other modifications required by such documents and noticed in conformity with any
             applicable rules, as such payments become due during the Plan Term. The fulfillment of this requirement is critical to the
             Debtor’s reorganization effort. Any failure by the Debtor to maintain payments to a mortgage creditor during the Plan
             Term may preclude confirmation of this Plan and, absent a subsequent surrender of the mortgage premises, may
             preclude the issuance of any discharge order to the Debtor under § 1328(a)3. The Trustee will monitor the Debtor's
             fulfillment of this direct payment obligation ("DPO").
              Mortgage Lienholder                                               Property Address                          Monthly Payment       Due Date of
                                                                                                                          Amount by Debtor        Monthly
                                                                                                                                                  Payment
    1.                                                          2513 Haddock Drive Plano, TX 75025 Collin                            $2,156.00 1sr
 Home Point Financial C                                         County                                               Amount inc:
                                                                Homestead                                              Tax Escrow
                                                                                                                       Insurance Escrow
                                                                                                                       Other

3.2          Curing Defaults and Maintenance of Direct Payment Obligations. [Check one]
                  None. If “None” is checked, the remainder of § 3.2 need not be completed.

3.3          Secured Claims Protected From § 506 Bifurcation. [Check one]
                  None. If “None” is checked, the remainder of § 3.3 need not be completed.
3.4          Secured Claims Subject to § 506 Bifurcation. [Check one]
                  None. If “None” is checked, the remainder of § 3.4 need not be completed.
3.5          Direct Payment of Secured Claims Not in Default. [Check one]
                  None. If “None” is checked, the remainder of § 3.5 need not be completed.
                Direct Claims. Each of the following secured claims are designated for direct payment in accordance with the applicable
             contractual documents (a “Direct Claim”). The Debtor represents that each secured claim listed in this subsection was not in
             default on the Petition Date and either: (1) is protected from valuation under § 506(a) and payable at a contractual interest
             rate reasonable under the circumstances; or (2) should otherwise be approved by the Court based upon the justification
             provided. Without all three representations by the Debtor, this subsection may not be utilized and claim treatment
             must instead be addressed in § 3.4. Each listed secured claim constitutes a separate class.
         Claimant                          Collateral                 Total Claim Collateral Contract      Monthly                     Party to              Date of
                                           Description                Amount on     Value on    Interest Payment per                    Make                  Final
                                                                       Petition   Petition Date   Rate    Contract                     Payment              Monthly
                                                                         Date                                                                               Payment
 1.                                2011 Infiniti M37                   $15,981.00   $17,000.00 7.6%          $481.00                   Debtor      08/2021
 Ally Financial                    60000 miles                                                                                         Co-Debtor      Exceeds
                                                                                                                                       Third Party Plan Term
              Justification: current
 2.                                2013 Infiniti J35                   $16,446.00        $16,750.00 7.00%                 $509.00      Debtor       08/2022
 Veros Credit                      105000 miles                                                                                        Co-Debtor      Exceeds
                                                                                                                                       Third Party Plan Term
              Justification: current
3.6          Surrender of Property. [Check one]
                  None. If “None” is checked, the remainder of § 3.6 need not be completed.
3.7          Lien Retention.
             The holder of a lien securing payment of a claim addressed in §§ 3.1 or 3.2 of this Plan shall retain its lien until the
             indebtedness secured by such lien is totally satisfied as determined under applicable non-bankruptcy law. The holder of a
             lien securing payment of any other allowed secured claim that is governed by this Plan shall retain its lien until the earlier of:
             (1) the total satisfaction of the indebtedness secured by the lien as determined under applicable non-bankruptcy law; or (2)
3
 All statutory references contained in this Plan refer to the Bankruptcy Code, located in Title 11, United States Code.
TXEB Local Form 3015-a [eff. 12/2017]                                           Chapter 13 Plan                                                    Page 3

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Debtor Welton Douglas, III
Rosalind Douglas                                                                                                                  Case number      19-41285

             the entry of a discharge order in favor of the Debtor under § 1328(a). In each instance, the provisions of this subsection may
             be superseded by a subsequent order of the Court.
3.8          Maintenance of Insurance and Post-Petition Taxes Upon Retained Collateral.
             For all property that secures the payment of an indebtedness and which is proposed to be retained by the Debtor under this
             Plan, the Debtor must maintain insurance coverage as required either by the applicable contractual documents governing the
             indebtedness or as may be directed by the Trustee. The Debtor must also pay all ad valorem taxes on property proposed to be
             retained by the Debtor under this Plan as they come due in the post-petition period. Such payment shall be tendered to the
             appropriate taxing authorities in accordance with applicable non-bankruptcy law on or before the last date on which such
             taxes may be paid without penalty.
3.9          Lien Avoidance. [Check one]
                  None. If “None” is checked, the remainder of § 3.9 need not be completed.
3.10         Rule 3012 Valuation of Collateral. [Check one]
                  None. If “None” is checked, the remainder of § 3.10 need not be completed.
3.11         Lien Removal Based Upon Unsecured Status. [Check one]
                  None. If “None” is checked, the remainder of § 3.11 need not be completed.

 Part 4:                    Treatment of Administrative Expenses, DSO Claims and Other Priority Claims
4.1          General
             All allowed priority claims, other than those particular domestic support obligations treated in § 4.5, will be paid in full
             without post-confirmation interest. Where applicable, the Trustee is authorized to initiate monthly payments on an interim
             basis based upon the projected amount of each priority claim listed below until such time as the allowed amount of each
             priority claim is established by the filing of a proof of claim in accordance with the Bankruptcy Rules. The amount listed in
             that proof of claim, or the final determination by the Court of any objection thereto, shall control over any projected priority
             claim amount listed below.
4.2          Trustee’s Fees.
             The Trustee’s fees are fixed by the United States Trustee pursuant to the provisions of 28 U.S.C. § 586(e)(2) and, pursuant
             thereto, shall be promptly collected and paid from all plan payments received by the Trustee.
4.3          Attorney’s Fees.
             The total amount of attorney’s fees requested by the Debtor’s attorney in this case is $4,000.00. The amount of $0.00 was
             paid to the Debtor’s attorney prior to the Petition Date. The allowed balance of attorney’s fees will be paid by the Trustee
             from the remaining available funds after the payment of required adequate protection payments pursuant to §§ 3.3 and 3.4 of
             this Plan.
             The allowed balance of attorney’s fees to be awarded to the Debtor’s attorney in this case shall be determined by:
                  LBR 2016(h)(1);                by submission of a formal fee application.
                    LBR 2016(h)(1): If the attorney’s fee award is determined by the benchmark amounts authorized by LBR 2016(h), the
                    total fee shall be the amount designated in LBR 2016(h)(1)(A) unless a certification is filed by the Debtor’s attorney
                    regarding the rendition of legal services pertaining to automatic stay litigation occurring during the Benchmark Fee
                    Period outlined in that rule. The Trustee is authorized to make the benchmark fee calculation and to recognize the proper
                    enhancement or reduction of the benchmark amount in this case without the necessity of court order. No business case
                    supplement to the benchmark fee shall be recognized unless a business case designation is granted on or before initial
                    confirmation of the Plan.
                    Fee Application: If attorney’s fee award is determined by the formal fee application process, such fee application shall
                    be filed no later than 30 days after the expiration of the Benchmark Fee Period outlined in LBR 2016(h)(1). If no
                    application is filed within that period, the determination of the allowed amount of attorney’s fees to the Debtor’s attorney
                    shall revert to the benchmark amounts authorized by LBR 2016(h)(1) without the necessity of any further motion, notice
                    or hearing and the Trustee shall adjust any distributions in this class accordingly.
4.4          Priority Claims: Domestic Support Obligations ("DSO"). [Check one]

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Debtor Welton Douglas, III
Rosalind Douglas                                                                                                                  Case number      19-41285


                  None. If “None” is checked, the remainder of § 4.4 need not be completed.
4.5          Priority Claims: DSO Assigned/Owed to Governmental Unit and Paid Less Than Full Amount. [Check one]
                  None. If “None” is checked, the remainder of § 4.5 need not be completed.
4.6          Priority Claims: Taxes and Other Priority Claims Excluding Attorney’s Fees and DSO Claims. [Check one].
                  None. If “None” is checked, the remainder of § 4.6 need not be completed.


 Part 5:                    Treatment of Nonpriority Unsecured Claims
5.1          Specially Classed Unsecured Claims. [Check one]
                  None. If “None” is checked, the remainder of § 5.1 need not be completed.
5.2          General Unsecured Claims.
             Allowed nonpriority unsecured claims shall comprise a single class of creditors and will be paid:
                  100% + Interest at 0.00%;
                  100% + Interest at 0.00% with no future modifications to treatment under this subsection;
             X Pro Rata Share: of all funds remaining after payment of all secured, priority, and specially classified unsecured claims.
5.3          Liquidation Analysis: Unsecured Claims Under Parts 4 & 5.
             If the bankruptcy estate of the Debtor was liquidated under Chapter 7 of the Bankruptcy Code, the holders of priority
             unsecured claims under Part 4 of this Plan and the holders of nonpriority unsecured claims under Part 5 of this Plan would be
             paid an aggregate sum of approximately $202.5. Regardless of the particular payment treatments elected under Parts 4 and 5
             of this Plan, the aggregate amount of payments which will be paid to the holders of allowed unsecured claims under this Plan
             will be equivalent to or greater than this amount.
 Part 6:                    Executory Contracts and Unexpired Leases
6.1          General Rule – Rejection. The executory contracts and unexpired leases of the Debtor listed below are ASSUMED and will
             be treated as specified in § 3.2 of the Plan. All other executory contracts and unexpired leases of the Debtor are
             REJECTED. [Check one.]
                  None. If “None” is checked, the remainder of § 6.1 need not be completed.

 Part 7:                    Vesting of Property of the Estate
7.1          Property of the estate will vest in the Debtor only upon the entry of an order for discharge pursuant to § 1328, in the absence
             of a court order to the contrary.
 Part 8:                    Nonstandard Plan Provisions
                  None. If “None” is checked, the rest of Part 8 need not be completed.
Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not
otherwise included in the Official TXEB Form or any deviation from it. Any nonstandard provision set out elsewhere in this Plan is
void. Even if set forth below, any nonstandard provision is void unless the “Included” box is checked in § 1.4 of this Plan.

Incurring debt

Debtor(s) may not incur any post-petition debt, except upon written approval of the Trustee as follows:
" For purchase of a car: limit of $20,000.00 financed with monthly payment not to exceed $500.00
" For purchase of a home: limit of $250,000.00 financed with total monthly payment including taxes and insurance not to
exceed $2,500.00
" Debtor(s) must be current on plan payments and provide an amended budget that includes the proposed payment and
updated income information.
" The Trustee cannot approve any request that exceeds the current budget expenditure for the proposed debt or expense.
Debtor(s) must file a motion to incur debt if the request does not fall within the guidelines as stated above.

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Debtor Welton Douglas, III
Rosalind Douglas                                                                                                                  Case number      19-41285



 Part 9:                    Miscellaneous Provisions
9.1          Effective Date. The effective date of this Plan shall be the date upon which the order confirming this Plan becomes a final,
             nonappealable order.
9.2          Plan Disbursement Order. Unless the Court orders otherwise, disbursements by the Trustee under this Plan shall occur in
             the following order: (1) Trustee’s fees under § 4.2 upon receipt; (2) adequate protection payments under §§ 3.3 and 3.4; (3)
             allowed attorney fees under § 4.3; (4) secured claims under §§ 3.2, 3.3 and 3.4 concurrently; (5) DSO priority claims under
             §§ 4.4 and 4.5 concurrently; (6) non-DSO priority claims under § 4.6; (7) specially classed unsecured claims under § 5.1; and
             (8) general unsecured claims under § 5.2.
9.3          Litigation Proceeds. No settlement of any litigation prosecuted by the Debtor during the Plan Term shall be consummated
             without the consent of the Chapter 13 Trustee and, except as otherwise authorized by the Trustee, all funds received by the
             Debtor, or any attorney for the Debtor, shall be immediately tendered to the Chapter 13 Trustee for satisfaction of any
             authorized exemption claim of the Debtor, with the remainder of the funds dedicated as an additional component of the plan
             base.
 Part 10:                   Signatures

 /s/ Greg R Arnove                                                                                   Date     August 27, 2019
 Greg R Arnove 00783562
 Signature of Attorney for Debtor(s)

By filing this document, the attorney for the Debtor or any self-represented Debtor certifies to the Court that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in TXEB Local Form 3015-a, other than any
nonstandard provisions included in Part 8, and that the foregoing proposed Plan contains no nonstandard provisions other than
those included in Part 8.
 Part 11:                   Certificate of Service to Matrix as Currently Constituted by the Court




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                                   UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF TEXAS

IN RE: WELTON DOUGLAS, III                                            CASE NO: 19-41285
       ROSALIND DOUGLAS                                               DECLARATION OF MAILING
                                                                      CERTIFICATE OF SERVICE
                                                                      Chapter: 13




On 8/28/2019, I did cause a copy of the following documents, described below,
CHAPTER 13 PLAN




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 8/28/2019
                                                               /s/ Greg R Arnove
                                                               Greg R Arnove 00783562
                                                               Collins & Arnove
                                                               555 Republic Drive, Suite 200
                                                               Plano, TX 75074
                                                               972 516 4255
                       Case 19-41285    Doc 27   Filed 08/28/19   Entered 08/28/19 15:21:11   Desc Main Document    Page 8 of 10




                                        UNITED STATES BANKRUPTCY COURT
                                           EASTERN DISTRICT OF TEXAS

 IN RE: WELTON DOUGLAS, III                                               CASE NO: 19-41285
        ROSALIND DOUGLAS
                                                                          CERTIFICATE OF SERVICE
                                                                          DECLARATION OF MAILING
                                                                          Chapter: 13




On 8/28/2019, a copy of the following documents, described below,

CHAPTER 13 PLAN




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 8/28/2019




                                                                              Jay S. Jump
                                                                              BK Attorney Services, LLC
                                                                              d/b/a certificateofservice.com, for
                                                                              Greg R Arnove
                                                                              Collins & Arnove
                                                                              555 Republic Drive, Suite 200
                                                                              Plano, TX 75074
PARTIES DESIGNATED Case
                    AS "EXCLUDE" WERE
                        19-41285 Doc 27 NOT   SERVED
                                          Filed        VIA Entered
                                                08/28/19    USPS FIRST    CLASS
                                                                   08/28/19       MAILDesc Main Document
                                                                            15:21:11                     Page 9 of 10
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                   MIDLAND FUNDING LLC                          ALLY BANK
1LABEL MATRIX FOR LOCAL NOTICING            PO BOX 2011                                  PO BOX 130424
05404                                       WARREN MI 48090-2011                         ROSEVILLE MN 55113-0004
CASE 19-41285
EASTERN DISTRICT OF TEXAS
SHERMAN
WED AUG 28 09-14-16 CDT 2019



ALLY FINANCIAL                              AMERICAN EXPRESS NATIONAL BANK               AMEX
ATTN BANKRUPTCY DEPT                        CO BECKET AND LEE LLP                        CORRESPONDENCEBANKRUPTCY
PO BOX 380901                               PO BOX 3001                                  PO BOX 981540
BLOOMINGTON MN 55438-0901                   MALVERN PA 19355-0701                        EL PASO TX 79998-1540




EXCLUDE                                     CAPITAL ONE                                  CAPITAL ONE NA
GREG R ARNOVE                               ATTN BANKRUPTCY                              CO BECKET AND LEE LLP
555 REPUBLIC DRIVE                          PO BOX 30285                                 PO BOX 3001
SUITE 200                                   SALT LAKE CITY UT 84130-0285                 MALVERN PA 19355-0701
PLANO TX 75074-5469




CAVALRY PORTFOLIO SERVICES                  CAVALRY SPV I LLC                            CHASE CARD SERVICES
ATTN BANKRUPTCY DEPARTMENT                  500 SUMMIT LAKE DRIVE STE 400                CORRESPONDENCE DEPT
500 SUMMIT LAKE STE 400                     VALHALLA NY 10595-2321                       PO BOX 15298
VALHALLA NY 10595-2322                                                                   WILMINGTON DE 19850-5298




EXCLUDE                                     CREDIT COLLECTION SERVICES                   DEPARTMENT STORES NATIONAL BANK
WILLIAM J COLLINS                           ATTN BANKRUPTCY                              CO QUANTUM3 GROUP LLC
COLLINS ARNOVE                              725 CANTON ST                                PO BOX 657
555 REPUBLIC DR SUITE 200                   NORWOOD MA 02062-2679                        KIRKLAND WA 98083-0657
PLANO TX 75074-5469




                                            DEBTOR
ROSALIND DOUGLAS                                                                         DSNB BLOOMINGDALES
2513 HADDOCK DRIVE                          WELTON DOUGLAS III                           ATTN RECOVERY BK
PLANO TX 75025-5024                         2513 HADDOCK DRIVE                           PO BOX 9111
                                            PLANO TX 75025-5024                          MASON OH 45040




CAREY D EBERT                               HOME POINT FINANCIAL C                       JPMORGAN CHASE BANK NA
P O BOX 941166                              11511 LUNA RD STE 300                        SBMT CHASE BANK USA NA
PLANO TX 75094-1166                         FARMERS BRANCH TX 75234-6451                 JPMC
                                                                                         CO NATIONAL BANKRUPTCY SERVICES LLC
                                                                                         PO BOX 9013
                                                                                         ADDISON TEXAS 75001-9013




KOHLSCAPITAL ONE                            LVNV FUNDING LLC                             LVNV FUNDINGRESURGENT CAPITAL
KOHLS CREDIT                                RESURGENT CAPITAL SERVICES                   ATTN BANKRUPTCY
PO BOX 3120                                 PO BOX 10587                                 PO BOX 10497
MILWAUKEE WI 53201-3120                     GREENVILLE SC 29603-0587                     GREENVILLE SC 29603-0497




MIDLAND FUNDING                             NORDSTROM FSB                                PRA RECEIVABLES MANAGEMENT LLC
2365 NORTHSIDE DR STE 300                   ATTN BANKRUPTCY                              PO BOX 41021
SAN DIEGO CA 92108-2709                     PO BOX 6555                                  NORFOLK VA 23541-1021
                                            ENGLEWOOD CO 80155-6555
PARTIES DESIGNATEDCase
                   AS "EXCLUDE"  WERE
                       19-41285 Doc 27 NOT  SERVED
                                        Filed 08/28/19VIAEntered
                                                          USPS 08/28/19
                                                                 FIRST CLASS   MAILDesc Main Document
                                                                        15:21:11                      Page 10 of 10
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

PORTFOLIO RECOVERY                          PORTFOLIO RECOVERY ASSOCIATES LLC           RAUSCH STURM ISRAEL ENERSON HORNIK
PO BOX 41021                                PO BOX 41067                                15660 NORTH DALLAS PKWY SUITE 350
NORFOLK VA 23541-1021                       NORFOLK VA 23541-1067                       DALLAS TX 75248-3344




SYNCHRONY BANK                              SCOTT ASSOCIATES PC                         SECOND ROUND LP
CO WEINSTEIN RILEY PS                       PO BOX 115220                               PO BOX 41955
2001 WESTERN AVE STE 400                    CARROLLTON TX 75011-5220                    AUSTIN TX 78704-0033
SEATTLE WA 98121-3132




                                            EXCLUDE
US ATTORNEY GENERAL                                                                     VEROS CREDIT
DEPARTMENT OF JUSTICE                       US TRUSTEE                                  ATTN BANKRUPTCY
MAIN JUSTICE BUILDING                       OFFICE OF THE US TRUSTEE                    2333 N BROADWAY STE 130
10TH CONSTITUTION AVE NW                    110 N COLLEGE AVE                           SANTA ANA CA 92706-1641
WASHINGTON DC 20530-0001                    SUITE 300
                                            TYLER TX 75702-7231




VISA DEPT STORE NATIONAL BANKMACYS          WELLS FARGO                                 WELLS FARGO BANK NA
ATTN BANKRUPTCY                             ATTN BANKRUPTCY                             PO BOX 10438 MAC F823502F
PO BOX 8053                                 PO BOX 51193                                DES MOINES IA 50306-0438
MASON OH 45040-8053                         LOS ANGELES CA 90051-5493
